Case:17-03283-LTS Doc#:19796-6 Filed:01/17/22 Entered:01/17/22 15:06:23   Desc:
                          Exhibit C-1 Page 1 of 6




                         EXHIBIT C-1
Case:17-03283-LTS Doc#:19796-6 Filed:01/17/22 Entered:01/17/22 15:06:23                                          Desc:
                          Exhibit C-1 Page 2 of 6




                                                                            [hw:]

                                                                            Received 7/27/2021




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                          Exhibit C-1 Page 4 of 6



[handwritten:]

To: Grand Central Station                                          6/7/2021

From: [illegible]

Claim No. 174092

Debtor: Commonwealth of Puerto Rico

RE: By way of notice letter, [be advised that] I am not in agreement with the
determination of Commonwealth of Puerto Rico, I need to appeal the
determination, I request [illegible] appeal the decision and what rights I [illegible]
corresponding action and that [illegible]] in writing as to why this determination
was made that I am not eligible. I appreciate your attention. Thank you. I await
[illegible]

                                                                   [signature]




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                          Exhibit C-1 Page 6 of 6




                             TRANSLATOR’S CERTIFICATE OF TRANSLATION



Translation from: Spanish (Puerto Rico) into English (US)

TARGEM Translations Inc.

I, Andreea I. Boscor, ATA-certified Spanish-English #525556, acting as translator at TARGEM Translations Inc., a
NEW YORK City corporation, with its principal office at 185 Clymer Street, Brooklyn, NY, 11211, USA, certify that:

the English translated document is a true and accurate translation of the original Spanish and has been translated to
the best of my knowledge.

Original Document Name: Claim No. 174092




                                                                       Signed this 17th day of August 2021




                                                                       __________________________

                                                                             Andreea I. Boscor
